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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                       Plaintiff,                )                      4:11CR3087
                                                 )
               v.                                )
                                                 )           MEMORANDUM AND ORDER
GUY E. ALLEN,                                    )
                                                 )
                       Defendant.                )

       Defendant Allen's trial was previously set to commence on November 7, 2011, but was
removed from the trial docket when the defendant requested a change of plea hearing. Defendant
Allen has now asked the court to cancel his change of plea hearing and set this case for trial as soon
as the court's schedule allows. The defendant's request will be granted, but the additional time to
trial will be excluded inasmuch as the defendant's change of mind has disrupted the normal
scheduling practices of the court. Accordingly,

       IT IS ORDERED:

       1)      The defendant's change of plea hearing, previously set for today is cancelled.

       2)      Trial is set to begin at 9:00 a.m. on February 27, 2012 for a duration of five trial days
               before Judge Richard G. Kopf at the United States Courthouse and Federal Building,
               100 Centennial Mall North, Lincoln, Nebraska. Jury selection will be at the
               commencement of trial.

       3)      The time between today's date and February 27, 2012, shall be deemed excludable
               time in any computation of time under the requirements of the Speedy Trial Act, for
               the reason that the parties require additional time to adequately prepare the case,
               taking into consideration due diligence of counsel, the novelty and complexity of the
               case, and the fact that the failure to grant additional time might result in a miscarriage
               of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).

       DATED this 22nd day of December, 2011.

                                               BY THE COURT:

                                               s/ Cheryl R. Zwart
                                               United States Magistrate Judge
